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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

---------------------------------x
-APTIM CORP.,
                                    :       Case No. 1:17-cv-05269
                       Plaintiff,
                                    :
           v.                               ECF Case
                                    :
 ALLIED POWER MANAGEMENT, LLC,
 BERNHARD CAPITAL PARTNERS          :       JURY TRIAL DEMANDED
 MANAGEMENT LP, DEAN SACK,
 VICTORIA BOYLE and JOHN DOES 1-10, :       Judge Sara L. Ellis

                                 :          Magistrate Judge M. David Weisman
                     Defendants.
---------------------------------x
-


     MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFF’S MOTION FOR
   A TEMPORARY RESTRAINING ORDER AND PRELIMINARY INJUNCTION




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        Plaintiff Aptim Corp. (“APTIM” or the “Company”) hereby respectfully submits this

Memorandum of Law in Support of its Motion for a Temporary Restraining Order and

Preliminary Injunction against Defendants Allied Power Management, LLC (“Allied”), Dean

Sack (“Sack”) and Victoria Boyle (“Boyle”).1


                                          INTRODUCTION

        APTIM’s former employees Dean Sack and Victoria Boyle stole the Company’s

confidential information, including a large file containing proprietary information about its

employees, who serviced the Company’s most important customer. They are now using this

information to benefit their new employer, Defendant Allied. Allied is run by their former boss,

Ron McCall, who holds this position in direct violation of a noncompete agreement he signed

with the Company. Allied, Sack and Boyle are violating federal law, state law and contractual

obligations by misappropriating and using the Company’s confidential information to compete

with the Company. They are now engaged in a campaign which also involves stealing more than

a dozen employees from the Company in a two-week period in an effort to destabilize APTIM’s

relationship with its most significant clients. APTIM seeks injunctive relief against Allied, Sack

and Boyle to bar their continued possession and use of the Company’s confidential information.

        The Company engages in tough but fair competition with other Bernhard Capital

Partners, LLC (“BCP”) affiliates in various industries on a regular basis. Here, however, Allied

1
        Plaintiff Aptim Corp. is the successor in interest to the Capital Services operating segment of
Chicago Bridge & Iron Company N.V. (“CB&I”), whose subsidiary The Shaw Group (“Shaw”) was
purchased by CB&I in 2013. Shaw was founded by James M. Bernhard, Jr. On June 30, 2017, APTIM
acquired CB&I’s Capital Services operating segment. As part of the acquisition, Shaw and CB&I
assigned to APTIM rights that relate to APTIM’s business, including the right to bring an action related to
the unlawful conduct described herein, some of which predates the acquisition by APTIM. This
Memorandum of Law therefore includes facts that took place before, during and after the sale of Shaw’s
businesses to CB&I and later again to APTIM. This Memorandum refers to the business segment that
passed from Shaw to CB&I to APTIM as the “Company.”
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is wrongfully using improperly-obtained confidential information (the “Confidential Company

Information”) to harm the Company’s key customer contracts, employee relationships and

reputation in the industry. The theft and misuse of the Confidential Company Information

appears part of a larger scheme by Allied and BCP to lay the groundwork for their plan to service

at least two of APTIM’s clients.

        APTIM seeks emergency relief enjoining Defendants from possessing, accessing,

reviewing or using any of the Confidential Company Information. Further, APTIM seeks an

order requiring Defendants to submit to forensic examination any of the devices used in

connection with the misappropriation. APTIM has a strong likelihood of success on the merits

of its claims, money damages are inadequate to compensate the continued risk of

misappropriation of Confidential Company Information by Defendants, and the balance of

interests weighs decidedly in APTIM’s favor.


                                           BACKGROUND2

A.      The Company’s Client Contracts, Employees and
        Treatment of Confidential and Proprietary Information

        The Company invests heavily in its client relationships and workforce. Recruiting, hiring

and retaining talented employees is crucial for the Company’s success. As such, the Company

devotes significant resources to these efforts as well as in training its current employees.

(Bethmann Decl. ¶ 6.)

        Defendants are using the Company’s confidential information about its workforce and its

clients to attempt to take over at least two significant Company clients, including Major Client 1



2
      Facts summarized in this section are set forth in greater detail in the Declaration of Chris
Bethmann, dated July 19, 2017 (the “Bethmann Decl.”).


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and Major Client 2. Approximately 1,400 employees of the Company provide services to Major

Client 1, including approximately 25 at the senior management level and approximately 650 in

administrative, professional, or supervisory capacities. More than 600 Company employees

provide services to Major Client 2, which operates in the same industry as Major Client 1. These

employees require highly-specialized training to maintain access to the work sites and perform

their work safely and in compliance with relevant regulations. The employees are also required

to be able to work at multiple sites. APTIM maintains the training of its employees to ensure

that these employees can meet the demands of its clients. (Id. ¶¶ 5, 6, 11.)

         Sack was the Company’s Vice President in charge of the Major Client 1 account, and

Boyle was the Senior Project Services Staffing Manager. The Company’s employees servicing

Major Client 1 worked within Major Client 1’s facilities on a regular and ongoing basis.

Pursuant to the Company’s policy, many of the senior employees who supervised work at those

facilities had access to, and used, Major Client 1’s computers and email addresses. (Id. ¶¶ 7, 10.)

         In Boyle’s senior staffing role, she also serviced the account for Major Client 2. She was

responsible for hiring and allocating human capital across multiple projects, including staffing

for major maintenance projects and during outages (work stoppages) at the client’s facilities. (Id.

¶ 12.)

         Given the nature of its business, the Company maintains various types of confidential and

proprietary information. This includes pricing information from clients, salary data regarding its

employees and operation data from ongoing projects. The Company takes multiple measures to

protect its confidential information. Among other things, the Company requires employees to

sign confidentiality agreements or acknowledgements. The Company also takes multiple steps

to protect its confidential information that is stored electronically and available online. In



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addition, the systems that contain sensitive information regarding employees are only accessible

to human resources, staffing team members and certain senior management members with a

business need-to-know. (Bethmann Decl. ¶¶ 25-27.)

B.       The Company’s Employees Sign Agreements to
         Protect its Trade Secrets and Confidential Information

         As part of the hiring and onboarding process for all new employees, the Company

requires them to sign agreements that address the Company’s policies regarding handling and

maintaining confidential information. These documents have developed over time and are

intended to protect the Company’s interests in its trade secrets and confidential information. (Id.

¶ 13.)

1.       Ron McCall

         Ron McCall (“McCall”) worked for the Company from 2002 until he left the Company in

January 2016, by which time he was the President of the Company’s Facilities and Plant Services

business division. During his tenure, he supervised multiple business lines and thousands of

employees, including the workforce assigned to the contract for Major Client 1. McCall

executed an employment agreement with the Company, which included a nonsolicitation and

noncompete agreement and non-disclosure obligations. (Id. ¶¶ 14-16.) Pursuant to the

nonsolicitation and noncompete agreement, McCall is specifically restricted from soliciting or

providing—whether directly or indirectly—to customers of the Company “engineering,

construction, procurement, maintenance, Environmental, [or] pipe fabrication services.”

(Bethmann Decl. Ex. A.)     McCall also agreed not to “directly or indirectly, at any time…, use

or otherwise exploit Confidential Information to the detriment of the Company.” (Id.) McCall’s




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nonsolicitation and noncompete agreement are in force until January 31, 2018, therefore his

current employment as the CEO of Allied is in clear breach of this agreement.3 (Id.)

2.     Dean Sack

       Sack began working for the Company on January 1, 2007. His most recent position with

the Company was as Vice President, overseeing Major Client 1’s account. In this role, Sack

managed the client relationship, and he oversaw all of its sites. Sack had overall responsibility

for the hundreds of employees within the fleet (i.e., the Company employees assigned to the

client). Sack reported directly to McCall between June 2015 and January 2016 and indirectly at

times before that. As part of Sack’s hiring and continued employment at the Company, he

signed a Confidentiality Agreement, an agreement entitled “Prohibited Use of Confidential

Information,” and a Trade Secrets and Patents Protection Agreement. (See Bethmann Decl. Exs.

B, C, D.) Sack signed the Confidentiality Agreement on December 27, 2006. That agreement

restricts Sack from disclosing confidential information as follows:

       Employee shall not disclose or use at any time, either during or subsequent to his
       employment by the Company, any trade secrets, proprietary technical information
       or other confidential information (including, without limitation, customer lists,
       company vision, strategy, methods, systems and procedures, marketing plans and
       strategies, and other information pertaining to the business of the Company that is
       not publicly available), whether patented or not, developed and/or owned by the
       Company or to which the Company has obtained rights by license or otherwise
       (the “Confidential Information”).

(Bethmann Decl. Ex. B.) The agreement also contained a provision regarding the continuity of

Sack’s obligations after his employment:


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       McCall’s employment agreement contains an arbitration provision. On July 17, 2017, the
Company filed an arbitration demand with the American Arbitration Association (“AAA”) against
McCall alleging breach of the nonsolicitation and noncompete agreement and seeking specific
performance, injunctive relief and damages. The arbitration proceeding is captioned APTIM Corp. v.
Dorsey Ron McCall, AAA Case No. 01-17-0004-1782.



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        Survival. This covenant against use of Confidential Information shall survive
        termination of the Employee’s employment for any reason whatsoever . . . , and
        this covenant shall remain in effect and be enforceable against Employee for so
        long as such Confidential Information retains commercial value, in the
        Company’s sole opinion. Upon termination of employment, Employee shall
        promptly deliver to the Company all materials relating to Confidential
        Information which are in possession of or under the control of Employee . . . .

(Id.) On December 26, 2006, Sack signed a Trade Secrets and Patents Protection Agreement.

That agreement, in relevant part, states as follows:

        Other than as required in my duties to my Employer, I shall not disclose to anyone
        or use either during or after my employment, except with written consent of my
        Employer, any trade secret or confidential technical or business information of my
        Employer. . . .

(Bethmann Decl. Ex. D.) Sack signed a Prohibited Use of Confidential Information agreement

on or about December 26, 2006. Under the agreement, Sack cannot use “the information and

material [he] obtained while working for [the Company] for any purpose other than [the

Company’s] purpose.” (Bethmann Decl. Ex. C.)

3.      Victoria Boyle

        Boyle started working at the Company on June 12, 2006, as a staffing manager. Most

recently, she was the Senior Project Staffing Services Manager and worked on the accounts for

Major Client 1, Major Client 2 and one additional client. In that capacity, she had access to

extensive information regarding the Company’s employees and its clients within those fleets.

Among other things, she was privy to information regarding employees’ various positions within

the company, titles, compensation levels, salary history, performance reviews, home addresses,

telephone numbers and personal or work email addresses. Boyle signed a Confidentiality

Agreement on June 2, 2006. (Bethmann Decl. ¶¶ 23-24.) This agreement was identical to the

Confidentiality Agreement signed by Sack, including the same provisions on “Confidential

Information” and “Survival.” (Bethmann Decl. Ex. E.)


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C.      Sudden and Mass Resignations of
        Senior Personnel Servicing Major Client 1

        In early June 2017, Sack and others began to contact Company employees who worked

on the account for Major Client 1, encouraging them to resign their positions and join an

emerging competitor of the Company. (Bethmann Decl. ¶ 35.) On Friday, June 2, 2017, Sack

contacted one of his fellow employees and asked him how quickly he could resign. (Bethmann

Decl. Ex. G.) During this conversation, Sack stated that he was “interested in destabilizing the

Company as quickly as possible.” (Id.) The employee rebuffed Sack’s request, but Sack

contacted him again over the course of the next two days. (Id.) The same day, without any

advance notice, Sack resigned from the Company effective immediately. (Id.)

        The same day that Sack resigned, he called two of his fellow employees both of whom

resigned the following Monday. In total, seven employees resigned on Monday, June 5, 2017:

Boyle; Robert Nevin (Project Managing Director); Michael Less (Midwest Regional Director);

Thomas Dahl (Health, Safety, Environment Manager); John Janek (Site Manager); Graham

Cross (Mid-Atlantic/New England Regional Director); and Bruce Brown (Site Manager). The

following morning, Tuesday, June 6, 2017, David Williams (Site Manager) submitted his

resignation. The next day, June 7, 2017, two more employees resigned: Thomas Cardell (Site

Manager) and Jessica Lee (Project Manager). By June 13, 2017, four more resignations

followed: Garry Evans (Site Manager); Michael Myers (Site Manager); Richard Minnick (Senior

Project Controls Specialist); and Robert Sumler (Project Specialist). (Bethmann Decl. ¶¶ 37-42.)

        Following the resignation of employees, the Company sent notices to each employee

reminding them of their obligation to maintain the confidentiality of the Company’s information

and trade secrets. (See Bethmann Decl. Ex. F.)




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D.      The Company’s Review of Its Files Uncovers Defendants’
        Theft of Confidential and Proprietary Information

1.      Sack Takes Confidential Information and Solicits Employees

        The Company learned that Sack sent an Excel file with proprietary and confidential

Company information from his Company email account to his private Hotmail email address on

May 30, 2017, three days before his resignation. Sack attached an Excel file, entitled “Copy of

2015 [Major Client 1] PIP 3 28 16 Final (JBB).xlsx” to the email. The file contains a

comprehensive overview of the Company’s employees at all of Major Client 1’s work sites.

Specifically, the Excel file includes a list of 78 of the most senior managers on the Major Client

1 account. The report also contains detailed information about each employee, including their

salary, “Target PIP” and a number of other employment metrics, as well as notes about specific

individuals’ performance levels. The Excel file also includes information about over 1,500 of

the Company’s employees working for Major Client 1. The list encompasses nearly 40 fields of

information from each employee, including name, contact information, compensation, employee

category, employment location, union member status, Medicare benefits and number of vacation

days. In total, the spreadsheet contains almost 60,000 cells of data. (Bethmann Decl. ¶¶ 30-33.)

        One of the Company’s employees reported that he received about three calls a day,

mostly from Sack, asking the employee to resign immediately, but the employee refused.

(Bethmann Decl. Ex. G.) The employee stated that Sack made it clear that Allied’s management

was taking note of his unwillingness to cooperate. (Id.) Sack contacted another employee on

June 2, 2017. (Id.) On Tuesday, June 6, 2017, Sack called another employee, asking him to log

on to alliedpwr.com in order to apply for a new job. (Id.)

        On about July 10, 2017, Mark Granger, Production Superintendent at a facility operated

by Major Client 1, announced his resignation from the APTIM and his intention to join Allied.


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Granger informed APTIM that Sack contacted him on or about July 6, 2017 about joining the

Allied “transition team” as a traveling site manager or production superintendent during outages.

He also met with Sack on Saturday, July 8, 2017. Granger's final date of employment with

APTIM was July 14, 2017. (Bethmann Decl. ¶¶ 51-52.)

2.      Boyle Takes Confidential Information and Solicits Employees

        On June 28, 2017, after Boyle resigned from the Company and was working at Allied,

she sent a text to one of the Company’s site leaders working on the account of Major Client 2

and referenced the exact amount of his current pay—to the penny. The site leader’s hourly rate

is housed in the Company’s Access database that contains confidential information about all of

the Company’s employees. This includes employees on Major Client 1’s account, Major Client

2’s account and other accounts. (Id. ¶ 34.)

3.      Other Solicitation Efforts

        On Friday, June 2, 2017, the same day Sack resigned, Graham Cross (who resigned soon

thereafter) contacted another of the Company’s employees and said that he wanted the employee

to come work for him again. (Bethmann Decl. Ex. G.) Later in the conversation, Cross told the

employee he deserved the Site Manager role. On June 7, 2017, an employee of the Company

provided the Company with a redacted offer letter from Allied, signed by John Plumlee, the

Chief Operating Officer of Allied. (Bethmann Decl. Ex. H.)

E.      The Theft and Use of Confidential Information Harms the Company

        Sack and Boyle’s continued possession of this confidential information poses multiple

threats to the Company. A broader disclosure of this information than has already occurred

would render it no longer confidential, which would be extremely damaging to the Company and

to the individual employees whose personal information is contained within this data.

(Bethmann Decl. ¶ 56.)

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       Additionally, by using this information on behalf of Allied, Defendants are causing the

Company to incur significant losses of personnel. The Company has lost multiple high-level,

talented employees. Over the years, the Company made significant investments of time and

resources in these employees, including for training and professional development. (Id. ¶ 57.)

       The Company’s reputation within the industry (including with unions, potential

customers and suppliers) also has suffered and will continue to suffer. The Company has a

strong reputation for delivering high-quality services to its clients. Defendants’ misconduct is

undermining the Company’s position as an industry leader. (Id. ¶ 58.)

        This misconduct has harmed the Company by causing a loss of confidence in the

Company from its existing customers. These relationships were established over the course of

many years and with significant effort. As a result of Defendants’ misconduct, the Company’s

hard-earned goodwill has suffered. (Id. ¶ 59.)


                                           ARGUMENT

       A preliminary injunction is “a way to maintain the status quo until merits issues can be

resolved at trial.” Michigan v. U.S. Army Corps of Eng’rs, 667 F.3d 765, 783 (7th Cir. 2011).

The standards for granting a temporary restraining order and preliminary injunction are similar.

See Illusions Too Reality, LLC v. City of Harvey, No. 02 C 7272, 2003 WL 260335, at *4 (N.D.

Ill. Feb. 4, 2003). Injunctive relief is warranted where, as here, the movant can demonstrate: “(1)

its case has some likelihood of success on the merits; (2) that no adequate remedy at law exists;

and (3) it will suffer irreparable harm if the injunction is not granted.” Ty, Inc. v. Jones Grp.,

Inc., 237 F.3d 891, 895 (7th Cir. 2001). If those conditions are satisfied, the Court must then

weigh the burden to be imposed on the nonmovant against the “irreparable harm the moving




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party will suffer if relief is denied.” Id. Finally, the Court must consider the public interest in

granting or denying the relief. See id.

        APTIM meets the standards for a temporary restraining order and a preliminary

injunction.


I.      APTIM IS LIKELY TO SUCCEED ON THE MERITS

        APTIM seeks injunctive relief against Defendants based upon their violation of federal

laws (the Defend Trade Secrets Act (“DTSA”) and the Computer Fraud and Abuse Act

(“CFAA”)), contractual obligations and common law duties, and their possession and use of

confidential and trade secret information belonging to APTIM. To satisfy the requirement that

the claims have some likelihood of success on the merits, APTIM must only show that it has a

“better than negligible” chance of succeeding on at least one of its claims. Id. at 898. Because

Defendants’ grave misconduct relates to highly confidential and sensitive information – some of

which is known to be have been wrongfully accessed and removed from the Company’s

possession by Sack and Boyle and known to be in the possession of the Defendants – APTIM

more than satisfies this burden.

               A.      Violation of the Defend Trade Secrets Act

        With respect to its DTSA claim, APTIM must ultimately establish: (1) the existence of a

trade secret; (2) that the trade secret was misappropriated; and (3) that such conduct relates to

interstate commerce. See, e.g., Molon Motor & Coil Corp. v. Nidec Motor Corp., No. 16 C

03545, 2017 WL 1954531, at *3-7 (N.D. Ill. May 11, 2017); see also 18 U.S.C. § 1836(b)(1).

The DTSA defines trade secrets broadly as:

        all forms and types of financial, business, scientific, technical, economic, or
        engineering information, including . . . compilations, . . . methods, techniques
        [among many others], whether tangible or intangible, and whether or how stored,
        compiled,    or   memorialized      physically,    electronically,   graphically,

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       photographically, or in writing if—(A) the owner thereof has taken reasonable
       measures to keep such information secret; and (B) the information derives
       independent economic value, actual or potential, from not being generally known
       to, and not being readily ascertainable through proper means by, another person
       who can obtain economic value from the disclosure or use of the information.

18 U.S.C. § 1839(3). Trade secrets will be deemed “misappropriated” when, among other

reasons, the following occurs:

       (A) acquisition of a trade secret of another by a person who knows or has reason
       to know that the trade secret was acquired by improper means; or (B) disclosure
       or use of a trade secret of another without express or implied consent by a person
       who . . . at the time of disclosure or use, knew or had reason to know that the
       knowledge of the trade secret was . . . derived from or through a person who
       owed a duty to the person seeking relief to maintain the secrecy of the trade
       secret.

18 U.S.C. § 1839(5) (emphases added). APTIM has the requisite likelihood of success of

proving these elements.

       The Confidential Company Information is a trade secret. The Excel file taken by Sack

contained almost tens of thousands of cells of propriety and confidential information about

APTIM’s business, as well as its employees, including names, contact information, titles and

compensation. (Bethmann Decl. ¶ 33.) This information, as well as the additional undetermined

information taken by Boyle to solicit employees, is a trade secret under the DTSA because the

records are financial, business and economic information in the form of compilations, including

internal company methods and techniques. See 18 U.S.C. § 1839(3). This information, which is

not generally known, derives its own economic value because, among other things, it is the very

internal mechanism of a company in determining the value of its employees.

       APTIM will be able to establish that each of the Defendants has misappropriated its trade

secrets. Sack knew that he was not permitted to share Confidential Company Information

outside of the Company and signed agreements to this effect. (See Bethmann Decl. ¶ 18.)

Nonetheless, only three days before resigning without notice and leading a coup of departures,

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Sack sent to his private e-mail account a message with no text and just the attached Excel file

with confidential information. (Id. ¶ 30.) Thus, Sack acquired this trade secret by improper

means. See Molon, 2017 WL 1954531, at *5 (finding that taking information from one’s current

employer to use at a competing company “readily meets the definition of acquiring trade secrets

through ‘improper means’”).

       Boyle has been using confidential information and trade secrets to solicit employees of

the Company. Specifically, APTIM recently learned that Boyle contacted an employee of the

Company in an effort to induce him to join Allied and stated his hourly compensation to the cent.

(Bethmann Decl. ¶ 34.) This information is Confidential Company Information and Boyle only

could have acquired this information while she was an employee of the Company, and therefore

her current use of this information in connection with her employment at Allied is in clear

violation of her confidentiality obligations to the Company. (See id. ¶ 24.)

       APTIM will also establish such claims against Allied, showing that it acted in concert to

receive this information, whether by an agency relationship between Allied, Boyle and Sack or

the knowledge of Allied’s CEO that the Company’s employees are subject to confidentiality

obligations. Evidence related to Allied’s conduct is uniquely in the possession of Defendants.

Further, this information also must have been inevitably disclosed to Allied. As a court in this

district has explained:

       The “inevitable disclosure doctrine” allows a plaintiff to “prove a claim” of trade
       secret misappropriation by demonstrating that defendant’s new employment will
       inevitably lead him to rely on the plaintiff’s trade secrets. In evaluating whether
       the facts justify this circumstantial-evidence inference, courts consider: “(1) the
       level of competition between the former employer and the new employer; (2)
       whether the employee’s position with the new employer is comparable to the
       position he held with the former employer; and (3) the actions the new employer
       has taken to prevent the former employee from using or disclosing trade secrets of
       the former employer.”



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Molon, 2017 WL 1954531, at *5 (citations omitted). Here, there is clear competition between

APTIM and Allied, as each render services to the same industry as APTIM’s client and Allied is

currently stealing APTIM’s employees to compete in that space. Moreover, the various

employees who resigned from the Company, including Sack and Boyle, presumably hold the

same or similar roles at Allied as they did with the Company, making it likely that they would

inevitably rely on the Confidential Company Information misappropriated by Sack, Boyle and

potentially others. Evidence of what Allied employees other than Sack and Boyle knew or did is

peculiarly within the Defendants’ knowledge. As such, APTIM will be able to establish a claim

under the DTSA against Allied, Sack and Boyle.

               B.     Violation of the Computer Fraud and Abuse Act

       APTIM is also likely to succeed on the merits of its claims under the CFAA. A person

violates the CFAA if he or she “knowingly and with intent to defraud, accesses a protected

computer without authorization, or exceeds authorized access, and by means of such conduct

furthers the intended fraud and obtains anything of value.” 18 U.S.C. § 1030(a)(4). A plaintiff

must prove the following elements: “(1) intentional access of a computer, (2) without or in

excess of authorization, (3) whereby the defendant obtains information from the protected

computer.” Motorola, Inc. v. Lemko Corp., 609 F. Supp. 2d 760, 766 (N.D. Ill. 2009); see also

18 U.S.C. § 1030(a)(2). Courts in this district have found that where an employee accesses a

company computer to send confidential information to a competitor, that constitutes a violation

of the CFAA. See Lemko, 609 F. Supp. 2d at 767 (“Allegations that an employee e-mailed and

downloaded confidential information for an improper purpose are sufficient to state a claim

[under the CFAA] that the employee exceeded her authorization.”); see also Lane v. LeBrocq,

No. 15 C 6177, 2016 WL 1271051, at *9 (N.D. Ill. Mar. 28, 2016) (“District courts in this



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Circuit have routinely . . . permit[ted] a claim under the CFAA against a disloyal employee who

uses an employer’s computer for his own purposes.”).

       Here, Sack violated the CFAA when he accessed Confidential Company Information and

transferred it outside of the Company via email without any authorization. (See Bethmann Decl.

¶ 30.) APTIM will be able to establish that Allied violated the CFAA, under which a defendant

company is liable for the actions of its employees. See Lemko, 609 F. Supp. 2d at 770 (finding

employer liable where employees acted on its behalf and at its request). APTIM intends to

establish that Sack was acting on behalf, or at the behest, of his current employer, Allied, and

Allied received the Confidential Company Information as a result of that relationship.

       Lastly, APTIM will be able to establish that it has suffered the requisite $5,000 of loss

and damages as a result of these actions; the Company has undergone a very significant and

time-consuming forensic review of its systems and data, among having taken other related steps.

(See Bethmann Decl. ¶ 61.)

               C.      Breach of Fiduciary Duty

       It is well-settled under Illinois law that an employee owes a “duty of fidelity and loyalty

to his employer.” Qualey v. U.S. Metals, Inc., No. 08 C 2636, 2009 WL 972612, at *2 (N.D. Ill.

Apr. 8, 2009) (internal citations omitted). An employee cannot breach that trust by “soliciting

his employer’s customers for himself, or enticing coworkers away from his employer.” Id.

       The fact that fifteen employees resigned on short or no notice from a highly-reputable,

international company to work for a start-up, with no employees and no contracts, strongly

suggests that any solicitation efforts began before Sack’s resignation. Sack’s phone records

support this conclusion. (See Bethmann Decl. ¶ 37.) As such, APTIM will be able to establish

that Sack breached his fiduciary duties by soliciting employees while still employed by the

Company. Similarly, Sack and Boyle breached their fiduciary obligations when they used
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information belonging to the Company against it, in clear violation of confidentiality agreements

with the Company. (See id. ¶¶ 34, 48-52.)

               D.      Aiding and Abetting Breach of Fiduciary Duty

       APTIM likewise has a basis to establish that Allied aided and abetted Sack’s and Boyle’s

breaches of their fiduciary duties. To state a claim for aiding and abetting under Illinois law,

“one must allege (1) the party whom the defendant aids performed a wrongful act causing an

injury, (2) the defendant was aware of his role when he provided the assistance, and (3) the

defendant knowingly and substantially assisted the violation.” Hefferman v. Bass, 467 F.3d 596,

601 (7th Cir. 2006). Here, although evidence that Allied knew Sack and Boyle had taken

Confidential Company Information and used it to solicit the Company’s employees and clients is

peculiarly in Allied’s possession, the circumstances point to Sack and Boyle acting in concert

with Allied and Allied having knowledge of their conduct. Recruiting such employees is an

integral part of building Allied’s business from the ground up, and Allied sent letters to the

Company’s employees. (See Bethmann Decl. ¶ 46.) By ratifying this conduct, Allied aided and

abetted Sack’s and Boyle’s breaches of their fiduciary duties. In addition, Allied is also liable

for Sack and Boyle’s conduct based upon an agency relationship.

               E.      Tortious Interference with Business Relations and
                       Tortious Interference with Contract

       APTIM meets the requisite standard to show that it has a likelihood of success in proving

that Defendants tortiously interfered with APTIM’s business relations, specifically the

expectancy of continued employment that APTIM had in relation to its employees. Under

Illinois law, the elements of this claim are: “(1) the existence of a valid business relationship or

expectancy; (2) the defendants’ knowledge of plaintiff’s relationship or expectancy; (3) an

intentional and unjustified interference by the defendant inducing or causing a breach or


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termination of the expectancy; (4) damages to plaintiff resulting from such interference.” James

v. Intercontinental Hotels Grp., Res., Inc., No. 09-cv-781, 2010 WL 529444, at *3 (N.D. Ill. Feb.

10, 2010). An at-will employment relationship can serve as the basis for a claim for tortious

interference. See id.; see also Ali v. Shaw, 481 F.3d 942, 944-45 (7th Cir. 2007); cf. Dowd &

Dowd, Ltd. v. Gleason, 816 N.E.2d 754, 768 (Ill. App. Ct. 2004). APTIM will also be able to

establish two separate tortious interferences with contract. A claim for tortious interference with

contract is similar to a claim for tortious interference with business relations, except a plaintiff

must prove “the existence of a valid and enforceable contract between the plaintiff and a third

party.” Echo, Inc. v. Timberland Machs. & Irrigation, Inc., 661 F.3d 959, 968 (7th Cir. 2011).

“Establishing inducement, in the context of a claim for tortious interference with a contract,

requires some active persuasion, encouragement, or inciting that goes beyond merely providing

information in a passive way.” Freed v. JPMorgan Chase Bank, N.A., No. 12 C 1477, 2012 WL

6193964, at *6 (N.D. Ill. Dec. 12, 2012) (citation omitted).

           With respect to the claim for tortious interference with business relations, each of the

Defendants had knowledge of the Company’s expectancy that it would continue to employ Sack,

Boyle and its other employees whom they solicited to Allied. Sack and Boyle breached their

fiduciary duties, and Allied aided and abetted those breaches, when Defendants interfered with

APTIM’s expectancy of continuity intentionally and unjustifiably. APTIM has suffered damage

because of the Defendants’ tortious interference as APTIM has lost employees and may lose

clients.

           Defendant Allied tortiously interfered with McCall’s agreements with the Company.

APTIM will be able to establish that Allied tortiously interfered with Sack’s and Boyle’s

confidentiality agreements. These agreements are commonplace in the industry and at the



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Company, where Allied’s CEO was a senior management employees. As such, Allied must have

known about Sack’s and Boyle’s confidentiality obligations, and in ratifying their misconduct in

order to steal APTIM’s business and employees, Allied tortiously interfered with the

confidentiality agreements.

               F.     Civil Conspiracy

       There is a strong likelihood that APTIM will be able to establish that all Defendants

conspired to carry out all the above-described tortious conduct. A civil conspiracy requires “(1)

a combination of two or more persons, (2) for the purpose of accomplishing by some concerted

action either an unlawful purpose or a lawful purpose by unlawful means, (3) in the furtherance

of which one of the conspirators committed an overt tortious or unlawful act.” Lane v. Money

Masters, Inc., No. 14-cv-1715, 2015 WL 225427, at *10 (N.D. Ill. Jan. 15, 2015). To be liable

for civil conspiracy, only “one of the parties to the agreement [must] commit[] some act in

furtherance of the agreement, which is itself a tort.” Adcock v. Brakegate, Ltd., 645 N.E.2d 888,

894 (Ill. 1994).

       As described above, Allied conspired to tortiously interfere with McCall’s employment

agreement and nonsolicitation and noncompete agreement and Sack’s and Boyle’s

confidentiality agreements with the Company. Allied acted in furtherance of that conspiracy by

hiring McCall, Sack and Boyle. Additionally, Defendants conspired to acquire APTIM’s trade

secrets, as described above. Sack and Boyle have acted and, upon information and belief,

continue to act in furtherance of that conspiracy by stealing APTIM’s confidential information in

violation of the DTSA and CFAA and wrongfully poaching employees of the Company. APTIM

has suffered and continues to suffer significant damages because of the Defendants’ concerted

actions.



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II.      NO ADEQUATE REMEDY AT LAW EXISTS AND APTIM WILL
         SUFFER IRREPARABLE INJURY IF THE INJUNCTION IS NOT GRANTED

         To determine whether a plaintiff will suffer irreparable injury absent injunctive relief,

“[t]he relevant inquiry is whether the plaintiff would be made whole by monetary damages

should he prevail at trial.” Fidlar Techs. v. LPS Real Estate Data Sols., Inc., No. 4:13-cv-4021-

SLD-JAG, 2013 WL 5973938, at *18 (C.D. Ill. Nov. 8, 2013) (citing Roland Mach. Co. v.

Dresser Indus., Inc., 749 F.2d 380, 386 (7th Cir. 1984)). Monetary damages need not be “wholly

ineffectual” but rather “seriously deficient as a remedy for the harm suffered.” Roland Mach.,

749 F.2d at 386. “The inadequacy of legal remedies and the threat of irreparable harm are

inherent in cases such as these when . . . trade secrets are at issue.” IDS Life Ins. Co. v.

SunAmerica, Inc., 958 F. Supp 1258, 1281 (N.D. Ill. 1997), aff’d in part, vacated in part on

other grounds sub nom., IDS Life Ins. Co. v. SunAmerica Life Ins. Co., 136 F.3d 537 (7th Cir.

1998). Moreover:

         [W]here trade secrets and confidential information are at issue, as they are here,
         irreparable harm flows necessarily from the actual or threatened loss of the
         important protectable business interests at stake. Therefore, a preliminary
         injunction is the only remedy adequate to curtail the irreparable harm that would
         otherwise inevitably follow.

PepsiCo, Inc. v. Redmond, No. 94 C 6838, 1995 U.S. Dist. Lexis 19437, at *84 (N.D. Ill. Jan. 26,

1995), aff’d 54 F.3d 1262, 1269 (7th Cir. 1995).

         APTIM does not have an adequate remedy at law for its causes of action and will suffer

irreparable harm if emergency injunctive relief is not granted. Sack and Boyle stole highly

confidential and proprietary information, including trade secrets from the Company, and

Defendants continue to hold and use such information to solicit employees of APTIM and gain

an unearned advantage in soliciting APTIM’s clients. In addition, Defendants’ wrongful conduct

has resulted in significant losses of high-level, talented employees, in whom the Company made


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significant investments of time and resources, including for training and professional

development. Monetary damages are inadequate to compensate APTIM for its incurred and

continuing losses owing from Defendants’ misconduct, which extend to adversely impact

APTIM’s reputation, client and employee relationships and ability to fairly compete in the

marketplace.

          Absent an injunction, Defendants will continue to use and disclose APTIM’s trade secrets

and confidential information, causing ongoing harm to APTIM’s competitive position—a loss

that cannot be readily calculated or necessarily cured by monetary damages. See Huawei Techs.

Co. v. Motorola, Inc., Civil Action No. 11-cv-497, 2011 WL 612722, at *10 (N.D. Ill. Feb. 22,

2011). In addition, the continued misappropriation of the Confidential Company Information

potentially undermines client confidence in APTIM and its reputation, as APTIM has access to

trade secrets and other information belonging to its clients in the course of its business. To the

extent that APTIM’s ability to protect such confidential data is compromised, the significant risk

to APTIM’s reputation, goodwill and client relationships warrants the relief APTIM seeks. Such

damages are incalculable and meet the requisite standard for establishing irreparable harm. See,

e.g., Diamond Blade Warehouse, Inc. v. Paramount Diamond Tools, Inc., 420 F. Supp. 2d 866,

872 (N.D. Ill. 2006) (granting preliminary injunction where in the absence of injunctive relief

plaintiff would “lose goodwill, competitive position, and continuity of business relationships

with its customers and employees”).


III.      THE BALANCE OF INTERESTS FAVORS INJUNCTIVE RELIEF

          Because APTIM meets the threshold requirements for a preliminary injunction, the Court

should engage in the balancing of interests to determine whether the interests favor a restraining

order and injunction. In so doing, the court weighs the “irreparable harm that the moving party


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would endure without the protection of the preliminary injunction against any irreparable harm

the nonmoving party would suffer if the court were to grant the requested relief.” Girl Scouts of

Manitou Council, Inc. v. Girl Scouts of the U.S. of Am., Inc., 549 F.3d 1079, 1086 (7th Cir.

2008). The balancing process employs a “sliding scale” approach, meaning, “[t]he more likely

the plaintiff is to win, the less heavily need the balance of harms weighs in his favor; the less

likely his is to win, the more need it weigh in his favor.” Id. (alteration in original). The court

also considers the public interest involved, including the effect of relief on non-parties. See id.

        Because APTIM has demonstrated a substantial likelihood that it will succeed on the

merits of its claims, the balance of harm need not decisively weigh in APTIM’s favor.

Nevertheless, the balance of harm here decidedly weighs in favor of APTIM and provides further

support that the emergency injunctive relief APTIM requests should be granted. Absent

immediate injunctive relief, APTIM’s confidential trade secret information, wrongly taken by

Sack and Boyle as they planned their departure to a competitor, will continue to be used by

Defendants to garner ill-gained and unfair advantages in the marketplace. In contrast, the only

injury Defendants might suffer would be the inability to use the confidential and propriety

information that no Defendants own or have any right to possess, use, disclose or dispose of.

There can be no question that, in this balancing equation, APTIM is the only one that

conceivably could suffer harm. See, e.g., ISC-Bunker Ramo Corp. v. Altech, Inc., 765 F. Supp.

1310, 1335 (N.D. Ill. 1990) (defendant had “no equitable standing to complain of being deprived

of the use of information, manuals, software and procedures that it had no right to use and

appropriate in the first instance”).

        As a general rule, the “public interest is well-served by enforcing valid agreements,” like

those entered into by the parties in this case. Huawei Techs., 2011 WL 612722, at *10. As



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courts have recognized, the “public has no interest in destroying contracts, rewarding theft, and

encouraging unethical business behavior.” IDS, 958 F. Supp. at 1282. Accordingly, the public

interest is advanced by reinforcing the contractual and other obligations that were breached as a

result of Defendants’ wrongful conduct. The balance of harms plainly favors the issuance of a

temporary restraining order and a preliminary injunction. The targeted relief sought by APTIM

is simply to ensure that Defendants divest of information to which they had no right, prevent

them from continuing to use such information to solicit APTIM’s employees and clients, further

misappropriating the trade secrets, and to allow APTIM to fully account for the stolen

Confidential Company Information.


                                         CONCLUSION

       Based upon the foregoing, APTIM respectfully requests this Court to enter an order (1)

temporarily restraining and enjoining Allied, Sack and Boyle from continuing to possess, access,

review, use, disclose or misappropriate Confidential Company Information; (2) temporarily

restraining and enjoining Allied, Sack and Boyle from soliciting or attempting to solicit any

employees or clients of APTIM based directly or indirectly, in whole or in part, on any

Confidential Company Information; (3) compelling Allied, Sack and Boyle to immediately

return all Confidential Company Information that each Defendant obtained or misappropriated;

(4) compelling Allied, Sack and Boyle to immediately produce or provide access for forensic

examination any and all personal email accounts, phones, laptops, text messaging and social

media services, etc. and hard drives, cloud storage, USB drives or storage devices in their

possession, custody or control that may have been used to obtain or retain APTIM’s confidential

and trade secret information; (5) ordering Allied, Sack and Boyle to provide a full accounting as




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to the whereabouts of all Confidential Company Information wrongfully obtained from APTIM;

and (6) granting any other such relief the Court deems just and proper.

DATED:         July 20, 2017
               Chicago, Illinois

                                                    Respectfully submitted,

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